                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:04cr223


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
LATIA HARRIS                             )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence. (Doc. No. 163).

       In the motion, the defendant asks the Court to reduce her sentence so that she can deliver

her baby at home. Rule 35 of the Federal Rules of Criminal Procedure allows the Court to correct

a sentence within seven days of sentencing for clear error or to reduce a sentence upon the

government’s motion based on substantial assistance within one year of sentencing. The Court

finds that neither circumstance is applicable in this case.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.
                                                   Signed: March 24, 2006




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